AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                                                                                Oct 23, 2024
                                                                     for the
                                                   Eastern DistrictDistrict
                                                    __________      of Wisconsin
                                                                            of __________                                     s/ D. Olszewski

              In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)                                      Case No.
                                                                             )                          24       MJ          230
    A black Samsung cell phone in GFPD evidence under property               )
#24-001914-2, bearing IMEI: 355134280136068; S/N: R9TTC0G6N5P.               )
The Device is currently in evidence at the Greenfield Police Department.     )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  See Attachment A

located in the              Eastern               District of                 Wisconsin                 , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. 1951(a)                         Hobbs Act Robbery
        18 U.S.C. 2113(a)                         Bank Robbery

          The application is based on these facts:
        Please see affidavit

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s
                                                                                                        pplicant’s signatu
                                                                                                                   signature

                                                                                                   Special Agent Ian Byrne
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                     Telephone                        (specify reliable electronic means).


Date:        10/23/2024
                                                                                                         Judge’s signature

City and state: Milwaukee, Wisconsin                                              The Honorable William Duffin, U.S. Magistrate Judge
                                                                                                     Printed name and title
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                                 AFFIDAVIT IN SUPPORT OF

                       AN APPLICATION FOR A SEACH WARRANT

       I, Ian Byrne, being first duly sworn on oath, on information and belief state:

I.     INTRODUCTION, BACKGROUND, TRAINING, AND EXPERIENCE:

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since December 2021. Prior to my employment with the FBI, I was an active-duty U.S. Army

soldier for approximately nine years. I am currently assigned to the FBI’s Milwaukee Area Violent

Crimes Task Force. This Task Force is a multi-jurisdictional law enforcement entity charged with

investigating violations of federal law, including violent and threatening criminal matters defined

under Title 18 of the United States Code. I have been trained in a variety of investigative matters

to include bank robberies, armed carjackings, threatening communication, and Hobbs Act

robberies. I have also been trained in a variety of legal matters, including the topics of Fourth

Amendment searches, the drafting of search warrant affidavits, and probable cause. I have assisted

in criminal investigations, participating in surveillance, searches, interviews, and debriefs of

arrested subjects. As a result of this training and investigative experience, I have learned how and

why criminal actors typically conduct various aspects of their criminal activities.

       2.      Based upon my training and experience, I know that computer hardware and

software may be important to a criminal investigation in two distinct and important respects: (1)

the objects themselves may be instrumentalities, fruits, or evidence of crime; and/or (2) the objects

may have been used to collect and store information about crimes (in the form of electronic data).

Rule 41 of the Federal Rules of Criminal Procedure permits the government to search and seize

computer hardware and software which are (a) instrumentalities, fruits, or evidence of crime, or

(b) storage devices for information about crime.




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       3.      To this end, based upon my training and experience, I know that individuals

involved in violent crimes use cellular telephones to maintain contact with co-conspirators aurally

or via electronic message in “text” format. I also know that it is common for suspects who commit

violent crimes to take or cause to be taken photographs and other visual depictions of themselves,

their associates, and the illegal proceeds and firearms that they control or possess.

       4.      Based on the investigation to date, I submit that there is probable cause to believe

that Danely PEREZ-PICA (DOB XX/XX/1995) committed a Hobbs Act robbery, and a bank

robbery in Milwaukee County, Wisconsin, on August 18, 2024, and August 22, 2024, in violation

of Title 18, United States Code, §§ 1951(a) (Hobbs Act Robbery), and 2113(a) (Bank Robbery).

       5.      This affidavit is based upon my personal knowledge, my training and experience,

and on information reported to me by other state and local law enforcement officers during the

course of their official duties, all of whom I believe to be truthful and reliable. This affidavit is

also based upon police reports, physical surveillance, and witness statements that I consider to be

reliable as set forth herein. The facts of this affidavit are based upon information obtained from

my investigation, as well as information I have received from other law enforcement officers.

       6.      Because this affidavit is submitted for the limited purpose of obtaining a search

warrant, I have not included each and every fact known to me concerning this investigation. I have

attempted to set forth only the facts that I believe are pertinent to establishing the necessary

foundation for the warrant.

II.    IDENTIFICATION OF THE DEVICES TO BE EXAMINED

       7.      This affidavit is submitted in support of an application for a search warrant for the

below-described portable electronic device (“Device”), which is currently in evidence at the




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Greenfield Police Department (“GFPD”), for evidence of the user’s possible involvement in the

robberies described in detail below:

            a. A black Samsung cell phone in GFPD evidence under property #24-001914-2,

               bearing IMEI: 355134280136068; S/N: R9TTC0G6N5P. Recovered from the floor

               in front of the driver’s seat of the Jeep Grand Cherokee that PEREZ-PICA was

               driving at the time of his arrest.

       8.      The applied-for warrant would authorize the forensic examination of the Device for

the purpose of identifying electronically stored data particularly described in Attachment B.

III.   PROBABLE CAUSE

                               August 18, 2024 – Family Dollar Robbery

       9.      Affiant has reviewed West Milwaukee Police Department reports related to the

investigation of an armed robbery which occurred on August 18, 2024. The reports of Officer

Anastasi reflect that they conducted an interview of Victim 1 (A.Q-R., DOB XX/XX/1994) who

stated that on August 18, 2024, at approximately 1:00pm, they were working as a cashier at the

Family Dollar store, located at 4202 W. Greenfield Avenue, West Milwaukee, WI 53215 when the

store was robbed by a suspect with a gun. Victim 1 stated that the suspect placed merchandise onto

the counter and stated that he needed money for a funeral because his brother died. The suspect

then stated “give me everything” in English then repeated the same phrase in Spanish. Victim 1

observed the suspect holding what looked to be a black firearm inside a white purse. The suspect

stated, “you wanna get shot, you want to get killed?”. The suspect took $240.35 in US currency

from the register and fled. Victim 1 described the suspect as wearing what appeared to be a nun

outfit/costume of black clothing with a white mask and carrying a white purse.




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                            August 22, 2024 – Educator’s Credit Union Robbery

       10.     Affiant has further reviewed the police reports of Officer Doonan which reflect that

on August 22, 2024, at 1:24pm, Greenfield Police Officers were dispatched to the Educator’s

Credit Union, located at 4000 W. Loomis Road, Greenfield, WI, for a report of an armed robbery.

       11.     Officer Doonan reports that they responded to the bank and spoke with two bank

tellers who were both victims of the robbery, identified as Victim 2 (H.T., DOB XX/XX/2006)

and Victim 3 (L.L., DOB XX/XX/1956). Officer Doonan reports that according to the victims, the

suspect approached them and declared that he had a bomb and demanded the money from the cash

drawers. The suspect produced a note which said something about his “brother just died.” Victim

2 saw something red flashing in the suspect’s hand and believed it was a bomb. The suspect

obtained a total of $1,301 in U.S. currency.

       12.     Detective Beal reports they personally observed surveillance footage of the

incident, which was provided by the bank Regional Director (P.B., DOB XX/XX/1982). That

video showed the suspect, described as a black male with a heavy build, weighing approximately

220-260 pounds, and measuring approximately 6’00” – 6’02” tall. The suspect also had red colored

dread locks. The suspect was carrying a black case with silver trim, a black and white striped bag,

and possibly a black fanny pack style bag.

       13.     Detective Beal reports that video surveillance from the bank exterior on the north

side of the bank showed the suspect arrive at the bank on a red and black moped.

       14.     Officer Doonan reports that they reviewed additional close-up photographs were

taken of the suspect and moped by a customer (D.P., DOB XX/XX/1961), after the robbery, as the

suspect was leaving the parking lot. Based on the review of those photos, the suspect vehicle was

further identified as a Yamaha, with two distinct stickers on the front, one yellow colored sticker



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with the word “EQUINOX”, and the second being green and white with the number “652”. A pink

water bottle/thermos was also visible in the cup holder. The suspect was further described as

wearing an outfit giving the appearance of a nun, with a rosary type necklace, black head covering,

white facemask, black sweatpants, a black curtain of some sort with metallic grommets being

worn, and white shoes with distinct spikes on the back of the shoes at the ankle area.

                              Identification and arrest of Danely PEREZ-PICA

       15.     Affiant has reviewed the reports of Officer Torres which reflect that on August 22,

2024, after the Educator’s Credit Union robbery, the Milwaukee Police Department received an

anonymous tip from an individual who stated that he was with a guy who told him that he

committed the robbery at the bank. The anonymous tipster identified the suspect as Danely

PEREZ-PICA, DOB XX/XX/1995. The tipster also identified the residence where PEREZ-PICA

was at as 625 W. Hayes Avenue, Milwaukee, WI.

       16.     Officer Torres further reports that Milwaukee Police Officers responded to that

residence and observed the moped that was used in the robbery, parked at 551 W. Hayes Avenue,

Milwaukee, WI. The Officers watched both the moped and the residence, and they observed the

suspect with red dreadlocks, identified as PEREZ-PICA, freely walk in and out of the residence

numerous times.

       17.     Officer Cabral reports that Milwaukee Police Officers observed PEREZ-PICA

walk out of the residence and get into a vehicle identified as a black 2011 Jeep Grand Cherokee

SUV, with a vehicle identification number (VIN) of 1J4RR4GG4BC551275. Around 4:40 PM,

Milwaukee Police Officers attempted to perform a traffic stop on that vehicle. They had a brief

initial encounter with PEREZ-PICA and his passenger, however shortly thereafter the vehicle fled

from police and crashed near 1500 W. Windlake Avenue, Milwaukee, WI. PEREZ-PICA was the



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driver and fled on foot after the crash, though he was subsequently captured a short distance away

by police. Also in the vehicle at the time of the traffic stop was a passenger, seated in the front

passenger seat, who identified himself during the initial encounter with law enforcement as Alex

MORENO, DOB XX/XX/1981. MORENO fled on foot following the pursuit and was not

apprehended.

       18.     Detective Chic reports that the Jeep had a unique sticker on the gas cap door

depicting an orange stick figure and a fuel gauge. Detective Beal reports that after executing a

search warrant on the Jeep, evidence was recovered from inside the vehicle, from the Educator’s

Credit Union robbery, which included the black and white striped bag, as well as the black and

silver case. That vehicle was subsequently towed from the scene to the City of Milwaukee

Impound/Tow Lot, located at 3811 W. Lincoln Avenue, Milwaukee, WI, with an assigned Tow

Number of 2472320.

       19.     Officer Cabral reports that after PEREZ-PICA was arrested, Milwaukee Police

Officers determined that the moped that was parked at 551 W. Hayes Avenue was the same moped

that was used in the Educator’s Credit Union robbery, based on the same unique yellow

“EQUINOX” and green and white “652” stickers on the moped. That moped was identified as a

2004 red and black Yamaha Moped, with a vehicle identification number (VIN) of

LPRSA20A34A409405. That vehicle was subsequently towed from the scene to the City of

Milwaukee Impound/Tow Lot, located at 3811 W Lincoln Avenue, Milwaukee, WI, with an

assigned Tow Number of 2472334.

       20.     Detective Beal reports that the pink water bottle/thermos from the suspect moped

at the time of the robbery was observed in plain view by officers on the back porch of the residence.




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       21.     Affiant has reviewed the reports of Detective Beal which reflect that Greenfield

Police executed a state search warrant on August 22, 2024, for the residence of 625 W. Hayes

Avenue, Milwaukee, WI. Evidence was recovered from the residence to include a white cloth/face

covering, and sweatpants which were believed to be some of the clothing worn by the suspect at

one or both of the robberies.

       22.     Affiant has reviewed the reports of Detective Beal which reflect that on August 27,

2024, Greenfield Police also executed a state search warrant on the Jeep Grand Cherokee and

Yamaha moped. Evidence was recovered from the Jeep including a black head covering believed

to be worn by the suspect, a black and white striped handbag, and a black and silver storage case

that the suspect had in his possession at the time of the Educator’s Credit Union robbery.

Furthermore, a black Samsung cell phone in a clear case was recovered from the floor in front of

the Jeep’s driver’s seat. The phone is in GFPD evidence under property #24-001914-2, bearing

IMEI: 355134280136068; S/N: R9TTC0G6N5P.

       23.     Officer Cabral reports that after video canvassing the area around where the Moped

was recovered, he viewed surveillance footage from an anonymous citizen residing on the 2400

block of S. 5th Place, Milwaukee, WI. The footage showed that on August 22, 2024, at

approximately 1:42pm, an individual, identified by Officer Cabral as being Melvin RODRIGUEZ-

QUINONEZ, DOB: XX/XX/1979, exited the front passenger seat of a vehicle which was

consistent in appearance with the Jeep described above. RODRIGUEZ-QUINONEZ carried what

appeared to be a pair of white shoes and proceeded to throw them in a garbage can located in the

vicinity of 2341 S. Chase Avenue, Milwaukee, WI. Officer Cabral reports that officers then

responded to that garbage can and located a pair of white shoes that are believed to be the same

pair of white shoes with the spikes at the back of the shoes that were worn by the suspect during



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the Educator’s Credit Union robbery. Those shoes were photographed and taken into Greenfield

Police Evidence under property #24-001878.

       24.     Detective Chic reviewed surveillance footage screenshots of the suspects from the

Family Dollar and Educator Credit Union robberies and determined that it appears to be the same

suspect in both, wearing the same white face covering, black head covering, and rosary type

necklace.

       25.     After PEREZ-PICA was arrested following the pursuit of the Jeep, Detective Chic

reviewed various surveillance cameras from around the Family Dollar store at the time of that

robbery. Detective Chic determined that the Jeep was in the area of the Family Dollar store at the

time of that robbery. The surveillance cameras showed that it was the same Jeep with the unique

sticker on the gas cap door depicting an orange stick figure and a fuel gauge.

       26.     Affiant has reviewed the reports of Detective Beal that reflect that Probation and

Parole Officer Baptiste provided the phone number, 414-552-0597 as the phone number in her

records for PEREZ-PICA. Probation and Parole Officer Baptiste also provided the phone number

in her records for PEREZ-PICA’s girlfriend, “Lulu” as 414-520-6834. After searching a database,

Detective Beal states that it was determined that 414-520-6834 was listed to Heather Rvalle

VALLE-ESPARZA, DOB: XX/XX/1984. Records checks further show that Valle-Esparza lives

at 4XXX W. Tesch Avenue, Greenfield, WI. This address is approximately 1.1 miles away, and

just a four-minute drive to Educator’s Credit Union.

       27.     It should be noted that according to Officer Boyd’s report, witness W.R., DOB:

XX/XX/1976, stated that the Jeep belonged to VALLE-ESPARZA. According to witness K.A.,

DOB: XX/XX/1983, PEREZ-PICA also drove VALLE-ESPARZA to work in the Jeep earlier that

morning on August 22, 2024.



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       28.      Detective Beal reports that Greenfield Police conducted a check of the SIM card of

the black Samsung phone that was recovered from the Jeep and currently in GFPD evidence. The

check identified a phone number of 414-477-5903. That phone number listed to K.S. (DOB:

XX/XX/1989). Greenfield Police contacted K.S., who reported that the Samsung phone did not

belong to her. However, her daughter had an iPhone that was stolen approximately 2-3 years ago.

Greenfield Police then inserted the SIM card back into the black Samsung and called 414-477-

5903. That number successfully called the black Samsung phone.

       29.      Affiant knows that the device described in Attachment A is currently in the custody

of the Greenfield Police Department. Further, affiant knows that Danely PEREZ-PICA is currently

in the custody of the Wisconsin Department of Corrections and has been in their custody and/or

the custody of other law enforcement since his arrest on this matter.

IV.    TECHNICAL TERMS

       30.      Based on my training and experience, I use the following technical terms to convey

the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals. These telephones send signals through networks of

                transmitter/receivers, enabling communication with other wireless telephones or

                traditional “land line” telephones. A wireless telephone usually contains a “call

                log,” which records the telephone number, date, and time of calls made to and from

                the phone. In addition to enabling voice communications, wireless telephones offer

                a broad range of capabilities. These capabilities include: storing names and phone

                numbers in electronic “address books;” sending, receiving, and storing text



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      messages and e-mail; taking, sending, receiving, and storing still photographs and

      moving video; storing and playing back audio files; storing dates, appointments,

      and other information on personal calendars; and accessing and downloading

      information from the Internet. Wireless telephones may also include global

      positioning system (“GPS”) technology for determining the location of the device.

   b. Digital camera: A digital camera is a camera that records pictures as digital picture

      files, rather than by using photographic film. Digital cameras use a variety of fixed

      and removable storage media to store their recorded images. Images can usually be

      retrieved by connecting the camera to a computer or by connecting the removable

      storage medium to a separate reader. Removable storage media include various

      types of flash memory cards or miniature hard drives. Most digital cameras also

      include a screen for viewing the stored images. This storage media can contain any

      digital data, including data unrelated to photographs or videos.

   c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a

      handheld digital storage device designed primarily to store and play audio, video,

      or photographic files. However, a portable media player can also store other digital

      data. Some portable media players can use removable storage media. Removable

      storage media include various types of flash memory cards or miniature hard drives.

      This removable storage media can also store any digital data. Depending on the

      model, a portable media player may have the ability to store very large amounts of

      electronic data and may offer additional features such as a calendar, contact list,

      clock, or games.




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   d. GPS: A GPS navigation device uses the Global Positioning System to display its

      current location. It often contains records the locations where it has been. Some

      GPS navigation devices can give a user driving or walking directions to another

      location. These devices can contain records of the addresses or locations involved

      in such navigation. The Global Positioning System (generally abbreviated “GPS”)

      consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite contains an

      extremely accurate clock. Each satellite repeatedly transmits by radio a

      mathematical representation of the current time, combined with a special sequence

      of numbers. These signals are sent by radio, using specifications that are publicly

      available. A GPS antenna on Earth can receive those signals. When a GPS antenna

      receives signals from at least four satellites, a computer connected to that antenna

      can mathematically calculate the antenna’s latitude, longitude, and sometimes

      altitude with a high level of precision.

   e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

      for storing data (such as names, addresses, appointments or notes) and utilizing

      computer programs. Some PDAs also function as wireless communication devices

      and are used to access the Internet and send and receive e-mail. PDAs usually

      include a memory card or other removable storage media for storing data and a

      keyboard and/or touch screen for entering data. Removable storage media include

      various types of flash memory cards or miniature hard drives. This removable

      storage media can store any digital data. Most PDAs run computer software,

      giving them many of the same capabilities as personal computers. For example,

      PDA users can work with word-processing documents, spreadsheets, and



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                presentations. PDAs may also include global positioning system (“GPS”)

                technology for determining the location of the device.

             f. Internet: The Internet is a global network of computers and other electronic

                devices that communicate with each other. Due to the structure of the Internet,

                connections between devices on the Internet often cross state and international

                borders, even when the devices communicating with each other are in the same

                state.

       31.      Based on my knowledge, training, and experience, as well as my conversations with

other Special Agents of the Federal Bureau of Investigation, who are experienced with electronic

communication systems, I know that the electronic Devices described above have capabilities that

allow them to serve as a wireless telephone, digital camera, portable media player, GPS navigation

device, and PDA. In my training and experience, examining data stored on devices of this type can

uncover, among other things, evidence that reveals or suggests who possessed or used the device.

V.     ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       32.      Based on my knowledge, training, and experience, as well as my conversations with

other Special Agents of the Federal Bureau of Investigation, who are experienced with electronic

communication systems, I know that electronic devices can store information for long periods of

time. Similarly, things that have been viewed via the Internet are typically stored for some period

of time on the Devices. This information can sometimes be recovered with forensics tools.

       33.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the Devices

were used, the purpose of use, who used it, and when.



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       34.     Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to, computer-assisted scans of the entire medium that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant.

       35.     Manner of execution. Because this warrant seeks only permission to examine

devices already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premise. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.

VI.    CONCLUSION


       36.     Based on the facts contained within this affidavit, I believe that probable cause

exists to search the Device, which is more particularly described in Attachment A, and which is

currently located in evidence at the Greenfield Police Department, for evidence of the

aforementioned robberies, including but not limited to the information contained in Attachment B.




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                                      ATTACHMENT A

                                   Property to Be Searched

       A black Samsung cell phone in GFPD evidence under property #24-001914-2, bearing

IMEI: 355134280136068; S/N: R9TTC0G6N5P. Recovered from the floor in front of the front

driver’s seat of the Jeep Grand Cherokee that PEREZ- PICA was driving.

       The Device is currently in evidence at the Greenfield Police Department.

       This warrant authorizes the forensic examination of the Devices for the purpose of

identifying the electronically stored information described in Attachment B.




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                                       ATTACHMENT B

                               Particular Things to be Seized

       1.      All records on the Device described in Attachment A that relate to violations of

Title 18, United States Code, §§ 1951(a) (Hobbs Act Robbery), and 2113(a) (Bank Robbery)

involving Danely PEREZ-PICA, or any other subject, stored on the Device, to include:

            a. any information related to possession of firearms or ammunition (including

               photographs, text messages, emails, or any other communication information);

            b. any information recording any targets’ schedule or travel;

            c. any web search information related to the offenses described above;

            d. photographs of locations evidencing pre-robbery surveillance or vehicles or

               people related to the offenses described above;

            e. any information related to the proceeds from the robberies described above;

            f. any communications via text messages, email, Facebook, Twitter, or other web-

               based applications between the subjects and others regarding the offenses

               described above; and

            g. all bank records, checks, credit card bills, account information, and other financial

               records.

       2.      Evidence of user attribution showing who used or owned the device at the time

the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usernames and passwords, documents, and browsing history.

       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of electronic storage and any photographic form.



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                                            UNITED STATES DISTRICT COURT                                                       Oct 23, 2024

                                                                              for the                                         s/ D. Olszewski

                                                               Eastern District
                                                            __________  DistrictofofWisconsin
                                                                                     __________

                  In the Matter of the Search of                                 )
             (Briefly describe the property to be searched                       )
              or identify the person by name and address)                        )      Case No.    24        MJ        230
       A black Samsung cell phone in GFPD evidence under property
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                                                                                 )
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                                                                                 )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  Please see Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Please see Attachment B.




                                                                               11/06/2024
        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      x in the daytime 6:00 a.m. to 10:00 p.m.
      u                                        u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                   Honorable William E. Duffin               .
                                                                                                       (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                             .


Date and time issued:               10/23/2024 at 11:20 a.m.
                                                                                                               Judge’s signature

City and state:                 Milwaukee, Wisconsin                                    The Honorable William E. Duffin, U.S. Magistrate Judge
                                                                                                             Printed name and title
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AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                      ATTACHMENT A

                                   Property to Be Searched

       A black Samsung cell phone in GFPD evidence under property #24-001914-2, bearing

IMEI: 355134280136068; S/N: R9TTC0G6N5P. Recovered from the floor in front of the front

driver’s seat of the Jeep Grand Cherokee that PEREZ- PICA was driving.

       The Device is currently in evidence at the Greenfield Police Department.

       This warrant authorizes the forensic examination of the Devices for the purpose of

identifying the electronically stored information described in Attachment B.




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                                       ATTACHMENT B

                               Particular Things to be Seized

       1.      All records on the Device described in Attachment A that relate to violations of

Title 18, United States Code, §§ 1951(a) (Hobbs Act Robbery), and 2113(a) (Bank Robbery)

involving Danely PEREZ-PICA, or any other subject, stored on the Device, to include:

            a. any information related to possession of firearms or ammunition (including

               photographs, text messages, emails, or any other communication information);

            b. any information recording any targets’ schedule or travel;

            c. any web search information related to the offenses described above;

            d. photographs of locations evidencing pre-robbery surveillance or vehicles or

               people related to the offenses described above;

            e. any information related to the proceeds from the robberies described above;

            f. any communications via text messages, email, Facebook, Twitter, or other web-

               based applications between the subjects and others regarding the offenses

               described above; and

            g. all bank records, checks, credit card bills, account information, and other financial

               records.

       2.      Evidence of user attribution showing who used or owned the device at the time

the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usernames and passwords, documents, and browsing history.

       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of electronic storage and any photographic form.



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